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                           UNITED STATES BANKRUPTCY COURT
                                      DISTRICT 1


In re:                                                      Case No. 16-07979-MCF
         ESPERANZA DE LA CRUZ

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        ALEJANDRO OLIVERAS RIVERA, chapter 13 trustee, submits the following Final
Report and Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The
trustee declares as follows:

         1) The case was filed on 10/04/2016.

         2) The plan was confirmed on 03/01/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 02/20/2018.

         6) Number of months from filing to last payment: 15.

         7) Number of months case was pending: 17.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $25,125.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor             $4,280.00
        Less amount refunded to debtor                           $0.00

 NET RECEIPTS:                                                                                   $4,280.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $2,735.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                       $334.73
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $3,069.73

Attorney fees paid and disclosed by debtor:                $265.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim            Claim        Principal       Int.
 Name                             Class    Scheduled      Asserted         Allowed         Paid          Paid
 EMPRESAS BERRIOS INC         Secured         1,329.08           0.00         1,271.75        108.53         0.00
 EMPRESAS BERRIOS INC         Secured              0.00          0.00         1,127.37          96.20        0.00
 PRASA [AAA]                  Unsecured          124.00          0.00         1,548.18           0.00        0.00
 TRM LLC                      Secured        13,383.06           0.00       11,782.80       1,005.54         0.00
 TRM LLC                      Secured        44,461.40           0.00       40,745.34            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                $11,782.80          $1,005.54              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                 $43,144.46            $204.73              $0.00
 TOTAL SECURED:                                          $54,927.26          $1,210.27              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $1,548.18               $0.00             $0.00


Disbursements:

         Expenses of Administration                             $3,069.73
         Disbursements to Creditors                             $1,210.27

TOTAL DISBURSEMENTS :                                                                        $4,280.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/12/2018                             By:/s/ ALEJANDRO OLIVERAS RIVERA
                                                                Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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16-07979-MCF                                             CERTIFICATE OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was mailed by first class mail
or electronically sent to the parties listed below:

ESPERANZA DE LA CRUZ
BORINQUEN PARK APARTMENTS APT C116
CAGUAS, PR 00726

PRASA [AAA]
C/O CONSUMER SERVICES AREA
PO BOX 7066
SAN JUAN, PR 00916-7066

COND. BORINQUEN PARK APARTMENTS
GOYCO STREET
CAGUAS, PR 00725

EMPRESAS BERRIOS INC
PO BOX 674
CIDRA, PR 00739-0674

EOS CCA
700 LONGWATER DR ATT
NORWELL, MA 02061

ER SOLUTIONSS
800 SW 39TH ST SPRINT
RENTON, WA 98057

NATIONWIDE RECOVERY
2304 TARPLEY RD STE 134 ATT MOBILITY
CARROLTON, TX 75006

TRM LLC
AS SERVICER FOR RNPM LLC
PO BOX 192219
SAN JUAN, PR 00919

TRM LLC AS SERVICER FOR RNPM LLC
WVS LAW LLC
17 MEXICO STREET SUITE D1
SAN JUAN, PR 00917-2202

                                                     /S/HECTOR PEREZ
DATED: March 12, 2018                                OFFICE OF THE CHAPTER 13 TRUSTEE




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